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            In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS
                                        No. 13-676V
                      (Filed: June 6, 2014; Re-Issued: June 20, 2014)

* * * * * * * * * * * * * *
TERRI AHERN,               *
                           *                      Stipulation; Influenza Vaccine;
Petitioner,                *                      Shoulder Injury; Attorneys’
                           *                      Fees and Costs
v.                         *
                           *
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
Respondent.                *
* * * * * * * * * * * * * *

Paul Brazil, Philadelphia, PA, for Petitioner
Althea Walker Davis, Washington, DC, for Respondent


                              UNPUBLISHED DECISION 1

       On June 5, 2014, Respondent filed a joint stipulation concerning the petition for
compensation filed by Terri Ahern on September 12, 2013. In her petition, Petitioner
alleged that the influenza vaccine, which is contained in the Vaccine Injury Table (the
“Table”), 42 C.F.R. §100.3(a), and which she received on September 21, 2010, caused
her to develop a shoulder injury. Petitioner further alleges that she suffered the residual
effects of this injury for more than six months. Petitioner represents that there has been

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       Because this unpublished decision contains a reasoned explanation for the
undersigned’s action in this case, the undersigned intends to post this order on the United
States Court of Federal Claims website, in accordance with the E-Government Act of
2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days
within which to request redaction “of any information furnished by that party: (1) that is a
trade secret or commercial or financial in substance and is privileged or confidential; or
(2) that includes medical files or similar files, the disclosure of which would constitute a
clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire”
order will be available to the public. Id.
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no prior award or settlement of a civil action for damages on his behalf as a result of his
condition. Stipulation at ¶¶ 2, 4, 5.

        Respondent denies that the influenza vaccine caused Petitioner to suffer a shoulder
injury. Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        a.       A lump sum payment of $20,000.00 in the form of a check payable to
                 Petitioner, Terri Ahern. This amount represents compensation for all
                 damages that would be available under 42 U.S.C. § 300aa-15(a); and

        b.       A lump sum of $15,000.00, in the form of a check payable jointly to
                 Petitioner and Petitioner’s attorney, Paul Brazil, for attorneys’ fees
                 and costs available under 42 U.S.C. § 300aa-15(e), and in compliance
                 with General Order #9, no out-of-pocket expenses were incurred by
                 Petitioner in proceeding on the petition.

        In the absence of a motion for review filed pursuant to RCFC, Appendix B, the
clerk is directed to enter judgment in case 13-676V according to this decision and the
attached stipulation. 2

        Any questions may be directed to my law clerk, Camille Collett, at (202) 357-
6361.

        IT IS SO ORDERED.

                                           s/Lisa Hamilton-Fieldman
                                           Lisa Hamilton-Fieldman
                                           Special Master




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              Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment
by each party filing a notice renouncing the right to seek review by a United States Court
of Federal Claims judge.
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